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        Attachment A




                                                                          P. 001
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           S184X230041
           Denise D Dishongh
           Educational Service District 112
           2500 Northeast 65th Avenue
           Vancouver, WA 98661




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       S184X230041

       Tim Merlino
       Educational Service District 112
       2500 Northeast 65th Avenue
       Vancouver, WA 98661




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                                              US Department of Education
                                                Washington, D.C. 20202

                                        GRANT AWARD NOTIFICATION
1 RECIPIENT NAME                                               2   AWARD INFORMATION

     Educational Service District 112                                      PR/AWARD NUMBER                S184X230041
     2500 Northeast 65th Avenue                                               ACTION NUMBER               1
     Vancouver, WA 98661                                                         ACTION TYPE              New
                                                                                 AWARD TYPE               Discretionary

3   PROJECT STAFF
                                                               4   PROJECT TITLE

     RECIPIENT PROJECT DIRECTOR                                         84.184X
        Denise D Dishongh           (360) 952-3644                      Educational Service District 112 proposes implementing the
        denise.dishongh@esdl 12.org                                     Help is Down the Hall: Promoting Careers in School-based
     EDUCATION PROGRAM CONTACT                                          Mental Health (HOH) project in eligible high-need schools in
        Tawanda Avery               (202) 987-1782                      our six county region.
        tawanda.avery2@ed.gov
     EDUCATION PAYMENT HOTLINE
        G5 PAYEE HELPDESK           888-336-8930
        obssed@servicenowservices.com
5   KEY PERSONNEL

     NAME                               TITLE                                    LEVEL OF EFFORT
     Denise D Dishongh                  Project Director                                     10%

6   AWARD PERIODS

                  BUDGET PERIOD                  04/01/2023 - 12/31/2023
             PERFORMANCE PERIOD                  04/01/2023 - 12/31/2027

    FUTURE BUDGET PERIODS

         BUDGET PERIOD                               DATE                                   AMOUNT
                  2                          01/01/2024 - 12/31/2024                       $355,132.00
                  3                          01/01/2025 - 12/31/2025                       $504,929.00
                  4                          01/01/2026 - 12/31/2026                       $509,213 .00
                  5                          01/01/2027 - 12/31/2027                       $513,497.00

7   AUTHORIZED FUNDING

                                THIS ACTION                    $509,158.00
                              BUDGET PERIOD                    $509,158.00
                         PERFORMANCE PERIOD                    $509,158.00

8   ADMINISTRATIVE INFORMATION

               UEI/SSN           CPM8P1NSKLJ3
          REGULATIONS            EDGAR AS APPLICABLE
                                 2 CFR AS APPLICABLE
         ATTACHMENTS             2 , 3 , 6 , 8 , 9, 11 , 12 , 13 , 14 , GEl , GE2 , GE3 , GE4, GE5

g   LEGISLATIVE AND FISCAL DATA

      AUTHORITY:                              PL 114-95 (20 U.S.C. 7281) AND 115-245 TITLE IV AND TITLE III THE
                                              ELEMENTARY AND SECONDARY EDUCATION ACT OF 1965, AS
                                              AMENDED BY THE EVERY STUDENT SUCCEEDS ACT AND THE
                                              DEPARTMENT OF DEFENSE AND LABOR, HEALTH AND HUMAN
                                              SERVICES, AND EDUCATION APPROPRIATIONS ACT, 2019 AND
                                              CONTINUING APPROPRIATIONS ACT, 2019
                                                                                                                          P. 004
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                                            US Department of Education
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                                       GRANT AWARD NOTIFICATION
       PROGRAM TITLE:                      SAFE AND DRUG-FREE SCHOOLS AND COMMUNITIES - NATIONAL
                                           PROGRAMS
       CFDA/SUBPROGRAM NO:                 84.184X

     FUND         FUNDING   AWARD ORG. CODE     CATEGORY        LIMITATION        ACTIVITY   CFDA     OBJECT        AMOUNT
     CODE          YEAR      YEAR                                                                     CLASS
     0203M         2022      2023   ES000000         B             GCC             MHS       184      4101C           $509,158.00

10    PR/AWARDNUMBER:                          Sl84X230041
      RECIPIENT NAME:                          Educational Service District 112
      GRANTEE NAME:                            EDUCATIONAL SERVICE DISTRICT 112
                                               2500 NE 65TH AVE,
                                               VANCOUVER, WA 98661 - 6812
      PROGRAM INDIRECT COST TYPE:              Unrestricted
      PROJECT INDIRECT COST RATE:

      TERMS AND CONDITIONS

            (1)    THE FOLLOWING ITEMS ARE INCORPORATED IN THE GRANT AGREEMENT:

                   1) THE RECIPIENT'S APPLICATION (BLOCK 2);
                   2) THE APPLICABLE EDUCATION DEPARTMENT REGULATIONS: 2 CFR PART 180; NONPROCUREMENT
                   DEBARMENT AND SUSPENSION AS ADOPTED AT 2 CFR PART 3485; 2 CFR PART 200 AS ADOPTED
                   AT 2 CFR 3474 (BLOCK 8), AND 34 CFR PARTS 75, 77, 79, 81, 82, 84, 86, 97, 98, 99; AND THE PROGRAM
                   REGULATIONS SPECIFIED IN BLOCK 8; AND
                   3) THE SPECIAL TERMS AND CONDITIONS SHOWN AS ATTACHMENTS IN BLOCK 8 ON THE INITIAL
                   AWARD APPLY UNTIL CHANGED.

                   THIS AWARD SUPPORTS ONLY THE BUDGET PERIOD SHOWN IN BLOCK 6. IN ACCORDANCE WITH 34
                   CFR 75.253, THE SECRETARY CONSIDERS, AMONG OTHER THINGS, CONTINUED FUNDING IF:

                   1) CONGRESS HAS APPROPRIATED SUFFICIENT FUNDS UNDER THE PROGRAM;
                   2) THE DEPARTMENT DETERMINES THAT CONTINUING THE PROJECT WOULD BE IN THE BEST
                   INTEREST OF THE GOVERNMENT;
                   3) THE GRANTEE HAS MADE SUBSTANTIAL PROGRESS TOWARD MEETING THE GOALS AND
                   OBJECTIVES OF THE PROJECT;
                   4) THE SECRETARY ESTABLISHED PERFORMANCE MEASUREMENT REQUIREMENTS FOR THE
                   GRANT IN THE APPLICATION NOTICE, THE PERFORMANCE TARGETS IN THE GRANTEE'S APPROVED
                   APPLICATION;
                   5) THE RECIPIENT HAS SUBMITTED REPORTS OF PROJECT PERFORMANCE AND BUDGET
                   EXPENDITURES THAT MEET THE REPORTING REQUIREMENTS FOUND AT 34 CFR 75.118, 2 CFR 200.328
                   AND 200.329, AND ANY OTHER REPORTING REQUIREMENTS ESTABLISHED BY THE SECRETARY;
                   AND
                   6) THE GRANTEE HAS MAINTAINED FINANCIAL AND ADMINISTRATIVE MANAGEMENT SYSTEMS
                   THAT MEET THE REQUIREMENTS IN 2 CFR 200.302, FINANCIAL MANAGEMENT, AND 2 CFR 200.303,
                   INTERNAL CONTROLS.

                   IN ACCORDANCE WITH 2 CFR 200.308(c)(2) CHANGES TO KEY PERSONNEL IDENTIFIED IN BLOCK 5
                   MUST RECEIVE PRIOR APPROVAL FROM THE DEPARTMENT.

                   THE SECRETARY ANTICIPATES FUTURE FUNDING FOR THIS AWARD ACCORDING TO THE SCHEDULE
                   IDENTIFIED IN BLOCK 6. THESE FIGURES ARE ESTIMATES ONLY AND DO NOT BIND THE SECRETARY
                   TO FUNDING THE AWARD FOR THESE PERIODS OR FOR THE SPECIFIC AMOUNTS SHOWN. THE

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                                     US Department of Education
                                       Washington, D.C. 20202

                               GRANT AWARD NOTIFICATION
      RECIPIENT WILL BE NOTIFIED OF SPECIFIC FUTURE FUNDING ACTIONS THAT THE SECRETARY
      TAKES FOR THIS AWARD.

(2)   The Office of Management and Budget requires all Federal agencies to assign a Federal Award Identifying Number
      (FAIN) to each of their fmancial assistance awards. The PR/AWARD NUMBER identified in Block 2 is your FAIN.
      If subawards are permitted under this grant, and you choose to make subawards, you must document the assigned PR/
      AWARD NUMBER (FAIN) identified in Block 2 ofthis Grant Award Notification on each subaward made under this
      grant. The term subaward means:
      1. A legal instrument to provide support for the performance of any portion of the substantive project or program for
      which you received this award and that you as the recipient award to an eligible subrecipient. (See 2 CFR 200.33 l(a))
      2. The term does not include your procurement of property and services needed to carry out the project or program
      (The payments received for goods or services provided as a contractor are not Federal awards, see 2 CFR 200.501(f)
      of the 0MB Uniform Guidance: "Uniform Administrative Requirements, Cost Principles, and Audit Requirements for
      Federal Awards").
      3. A subaward may be provided through any legal agreement, including an agreement that you or a subrecipient
      considers a contract. (See 2 CFR 200.1)

(3)   The Department conducted a preliminary budget review prior to making awards to ensure that, in general, all costs in
      the proposed Federal and non-Federal budgets are related to specific project activities and are allowable, allocable,
      and reasonable to the grant in accordance with the Federal cost principles in 2 CFR part 200, subpart E. The program
      office will conduct a detailed budget review post-award.

      Within 30 days ofreceiving the results of the Departments detailed budget review, if necessary the grantee must
      submit a revised Year 1 budget that reallocates any unallowable costs to allowable services and activities. The revised
      budget must be within the scope of the approved project and must align with all initial goals and objectives of the
      approved application.

      If you wish to request reconsideration of these specific conditions, please send a written notification describing why
      such conditions should not be imposed on this grant to your Department program officer.

(4)   Unless this grant solely funds research, you must comply with new regulations regarding awards to faith-based
      organizations (FBOs) that provide beneficiary services under this grant or under a contract you award to provide
      beneficiary services under this grant. These new regulations clarify the rights ofFBOs and impose certain duties on
      FBOs regarding the referral ofbeneficiaries they serve. See 34 CFR 75.52, 75 .712-75.714, appendix A to part 75, and
      2 CFR 3474.15. The Department has established a web page that provides guidance on the new regulations, including
      FAQs and other implementation tools, which is available at http://www2.ed.gov/policy/fund/reg/fbci-reg.html. If you
      have any questions about these regulations, please contact the Education Program Contact identified in Block 3 of this
      GAN.

(5)   The grantee may not draw down any Year 2 funds, including any frontloaded funds, until after the grantee has
      submitted an annual performance report (APR) for the previous year and the program staff has reviewed and accepted
      the APR and determined that the grantee is making substantial progress towards meeting the objectives of the grant.

      If you wish to request reconsideration of these specific conditions, please send written notification describing why
      such conditions should not be imposed on this grant to your Department program officer.

(6)   Reimbursement of indirect costs is subject to the availability of funds and statutory and regulatory restrictions. The
      negotiated indirect cost rate agreement authorizes a non-Federal entity to draw down indirect costs from the grant
      awards. The following conditions apply to the below entities.

      A. All entities (other than institutions of higher education (IHE))

      The GAN for this grant award shows the indirect cost rate that applies on the date of the initial grant for this project.
      However, after the initial grant date, when a new indirect cost rate agreement is negotiated, the newly approved
      indirect cost rate supersedes the indirect cost rate shown on the GAN for the initial grant. This new indirect cost rate
      should be applied according to the period specified in the indirect cost rate agreement, unless expressly limited under
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                                  GRANT AWARD NOTIFICATION
         EDGAR or program regulations. Any grant award with an approved budget can amend the budget to account for a
         change in the indirect cost rate. However, for a discretionary grant award any material changes to the budget which
         may impact the scope or objectives of the grant must be discussed with the program officer at the Department. See 34
         CFR 75.560 (d)(3) (ii) (part 75 of EDGAR).

         B. Institutions of higher education (IHE)

         Under 2 CFR part 200, Appendix III, Indirect (F&A) Costs Identification and Assignment, and Rate Determination
         for Institutions of Higher Education (IHEs), the Department must apply the negotiated indirect cost rate in effect on
         the date of the initial grant award to every budget period of the project, including all continuation grants made for this
         project. See 2 CFR Part 200, Appendix III, paragraph C.7. Therefore, the GAN for each continuation grant will show
         the original indirect cost rate and it applies to the entire period of performance of this project. If the indirect cost rate
         agreement that is applicable to this grant does not extend to the end of the grants project period, the indirect cost rate
         set at the start of the project period must still be applied to the end of project period regardless of the fact that the rate
         has otherwise expired.

                                                     Validity unkno,#u-r-T--,.-
                                                      Digita11y signed by LAV                           MS

                                                      Date: Thu Mar 30 09:19:o...--L•-


                                                                 AUTHORIZING OFFICIAL                                      DATE


Ver. I




                                                                                                                          P. 007
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                    EXPLANATION OF BLOCKS ON THE GRANT AWARD NOTIFICATION

For Discretionary, Formula and Block Grants               (See Block 2 of the Notification)
1. RECIPIENT NAME - The legal name of the recipient or name of the primary organizational unit that was identified in the application, state plan
                      or other documents required to be submitted for funding by the grant program.
2. AWARD INFORMATION - Unique items of information that identify this notification.
       PR/AWARD NUMBER- A unique, identifying number assigned by the Department to each application. On funded applications, this is
                               commonly known as the "grant number'' or "document number." The PR/Award Number is also known as the
                                Federal Award Identifying Number, or FAIN.
       ACTION NUMBER - A numeral that represents the cumulative number of steps taken by the Department to date to establish or modify
                           the award through fiscal or administrative means. Action number "01" will always be "NEW AWARD"
       ACTION TYPE - The nature of this notification (e.g., NEW AWARD, CONTINUATION, REVISION, ADMINISTRATIVE)
       AWARD TYPE - The particular assistance category in which funding for this award is provided, i.e., DISCRETIONARY, FORMULA,
                      or BLOCK. If this award was made under a Research and Development grant program, the terms RESEARCH AND
                      DEVELOPMENT will appear under DISCRETIONARY, FORMULA OR BLOCK.
3. PROJECT STAFF - This block contains the names and telephone numbers of the U.S. Department of Education and recipient staff who are
                   responsible for project direction and oversight.
       *RECIPIENT PROJECT DIRECTOR - The recipient staff person responsible for administering the project. This person represents
                                                  the recipient to the U.S. Department of Education.
       EDUCATION PROGRAM CONTACT - The U.S. Department of Education staff person responsible for the programmatic,
                                                  administrative and businessmanagement concerns of the Department.
       EDUCATION PAYMENT CONTACT - The U.S. Department of Education staff person responsible for payments or questions
                                                  concerning electronic drawdown and financial expenditure reporting.
4. PROJECT TITLE AND CFDA NUMBER - Identifies the Catalog of Federal Domestic Assistance (CFDA) subprogram title and the
                                                 associated subprogram number.
5. * KEY PERSONNEL - Name, title and percentage (%) of effort the key personnel identified devotes to the project.
6. AWARD PERIODS - Project activities and funding are approved with respect to three different time periods, described below:
       BUDGET PERIOD - A specific interval of time for which Federal funds are being provided from a particular fiscal year to fund a recipient's
                          approved activities and budget. The start and end dates of the budget period are shown.
       PERFORMANCE PERIOD - The complete length of time the recipient is proposed to be funded to complete approved activities. A
                                    performance period may contain one or more budget periods.
       *FUTURE BUDGET PERIODS - The estimated remaining budget periods for multi-year projects and estimated funds the Department
                                         proposes it will award the recipient provided substantial progress is made by the recipient in
                                         completing approved activities, the Department determines that continuing the project would be in the
                                         best interest of the Government, Congress appropriates sufficient funds under the program, and the
                                         recipient has submitted a performance report that provides the most current performance information
                                         and the status of budget expenditures.
7. AUTHORIZED FUNDING - The dollar figures in this block refer to the Federal funds provided to a recipient during the award periods.
       *TIDS ACTION - The amount of funds obligated (added) or de-obligated (subtracted) by this notification.
       *BUDGET PERIOD - The total amount of funds available for use by the grantee during the stated budget period to this date.
       *PERFORMANCE PERIOD - The amount of funds obligated from the start date of the first budget period to this date.
       RECIPIENT COST SHARE - The funds, expressed as a percentage, that the recipient is required to contribute to the project, as defined
                                     by the program legislation or regulations and/or terms and conditions of the award.
       RECIPIENT NON-FEDERAL AMOUNT - The amount of non-federal funds the recipient must contribute to the project as identified in
                                                     the recipient's application. When non-federal funds are identified by the recipient where a
                                                     cost share is not a legislation requirement, the recipient will be required to provide the non-
                                                     federal funds.




8. ADMINISTRATIVE INFORMATION - This information is provided to assist the recipient in completing the approved activities and
                                                  managing the project in accordance with U.S. Department of Education procedures and
                                                  regulations.



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       UEI/SSN -       The UEI, issued in SAM.gov, is a unique 12 character organization identifier assigned to each recipient for payment purposes.
                       The SSN, issued by the Social Security Administration to individuals, is a nine character identifier for individuals. The
                       Department assigns the SSN as an identifier to individuals who are recipients of Federal financial assistance for payment
                       purposes.
      *REGULATIONS - Title 2 of the Code of Federal Regulations(CFR), Part 200 as adopted at 2 CFR 3474; the applicable parts of the
                                Education Department General Administrative Regulations (EDGAR), specific program regulations (if any), and other
                                titles of the CFR that govern the award and administration of this grant.
      *ATTACHMENTS - Additional sections of the Grant Award Notification that discuss payment and reporting requirements, explain
                                  Department procedures, and add special terms and conditions in addition to those established, and shown as
                                  clauses, in Block 10 of the award. Any attachments provided with a notification continue in effect through the project
                                  period until modified or rescinded by the Authorizing Official.
9. LEGISLATIVE AND FISCAL DATA - The name of the authorizing legislation for this grant, the CFDA title of the program through which
                                                     funding is provided, and U.S. Department of Education fiscal information.
      FUND CODE, FUNDING YEAR, AWARD YEAR, ORG.CODE, PROJECT CODE, OBJECT CLASS -
      The fiscal information recorded by the U.S. Department of Education's Grants Management System (GS) to track obligations by award.
      AMOUNT - The amount of funds provided from a particular appropriation and project code. Some notifications authorize more than one
      amount from separate appropriations and/or project codes. The total of all amounts in this block equals the amount shown on the line, "THIS
      ACTION" (See "AUTHORIZED FUNDING" above (Block 7)).
10. TERMS AND CONDITIONS - Requirements of the award that are binding on the recipient.
      *PARTICIPANT NUMBER - The number of eligible participants the grantee is required to serve during the budget year.
      *GRANTEE NAME - The entity name and address registered in the System for Award Management (SAM). This name and address is
                                    tied to the UEI registered in SAM under the name and address appearing in this field. This name, address and the
                                    associated UEI is what is displayed in the SAM Public Search.
      *PROGRAM INDIRECT COST TYPE - The type of indirect cost permitted under the program (i.e. Restricted, Unrestricted, or
                                                            Training).
      *PROJECT INDIRECT COST RATE - The indirect cost rate applicable to this grant.
      *AUTHORIZING OFFICIAL - The U.S. Department of Education official authorized to award Federal funds to the recipient, establish
                                                  or change the terms and conditions of the award, and authorize modifications to the award

FOR FORMULA AND BLOCK GRANTS ONLY:
(See also Blocks 1, 2, 4, 6, 8, 9 and 10 above)
3. PROJECT STAFF - The U.S. Department of Education staff persons to be contacted for programmatic and payment questions.
7. AUTHORIZED FUNDING
        CURRENT AWARD AMOUNT - The amount of funds that are obligated (added) or de-obligated (subtracted) by this action.
       PREVIOUS CUMULATIVE AMOUNT - The total amount of funds awarded under the grant before this action.
        CUMULATIVE AMOUNT - The total amount of funds awarded under the grant, this action included.
* This item differs or does not appear on formula and block grants.




                                                                                                                                          P. 009
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                 UNITED STATES DEPARTMENT OF EDUCATION
                       OFFICE OF THE CHIEF FINANCIAL OFFICER
                           & CHIEF INFORMATION OFFICER




Denise D Dishongh
Educational Service District 112
2500 Northeast 65th Avenue

Vancouver, WA 98661



SUBJECT: Payee Verification for Grant Award S 184X230041

This is to inform you of the payee for the above listed grant award issued by the United States
Department of Education

Grantee UEI/SSN: CPM8P1NSKLJ3
Grantee Name: EDUCATIONAL SERVICE DISTRICT 112

Payee UEI/SSN: CPM8P1NSKLJ3
Payee Name: EDUCATIONAL SERVICE DISTRICT 112

If any of the above information is not correct, please contact a Payee Customer Support
Representative at 1-888-336-8930. Please send all the correspondence relating to the payee or
bank information changes to the following address:


                              U.S. Department of Education
                              550 12th Street, SW
                              Room6087
                              Washington, DC 20202

                              Attn: Stephanie Barnes
                              Phone:202-245-8006




                                                                                             P. 010
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                                                                                     GAN ATTACHMENT 2
                                                                                             Revised 03/2021


                           SPECIFIC GRANT TERMS AND CONDITIONS FOR
                             FINANCIAL AND PERFORMANCE REPORTS


PERFORMANCE REPORTS:

(1) FINAL REPORTS - ALL RECIPIENTS are required to submit a final performance report within 120 days
after the expiration or termination of grant support in accordance with submission instructions provided
in box 10 of the Grant Award Notification (GAN), or through another notification provided by the
Department of Education (Department) (2 CFR § 200.329(c) ).

(2) ANNUAL, QUARTERLY, or SEMIANNUAL REPORTS-ALL RECIPIENTS of a multi-year discretionary
award must submit an annual Grant Performance Report (34 CFR § 75.118). The annual performance
report shall provide the most current performance and financial expenditure information that is
sufficient to meet the reporting requirements of 2 CFR §§ 200.328, 200.329, and 34 CFR § 75.720.

Your education program contact will provide you with information about your performance report
submissions, including the due date, as a grant term or condition in box 10 on the GAN, or through
another notification provided by the Department. The grant term or condition in box 10 on the GAN or
another notification may reflect any of the following:

    1.   That a performance report is due before the next budget period begins. The report should
         contain current performance and financial expenditure information for this grant. It will either
         identify the date the performance report is due or state that the Department will provide
         additional information about this report, including due date, at a later time .

    2.   That an interim performance report is required because of the nature of the award or because
         of statutory or regulatory provisions governing the program under which this award is made,
         and that the report is due more frequently than annually as indicated, e.g., due quarterly and
         submitted within 30 days after the end of each quarter, or due semiannually and submitted
         within 30 days after the end of each 6-month period (2 CFR § 200.329(c){l)).

    3. That other reports are required, e.g., program specific reports required in a program's statute or
       regulation.

(3) FINANCIAL REPORTS - SOME RECIPIENTS:

If a financial report is required, your education program contact will provide you with information about
your financial report submission, including the due date, as a grant term or condition in box 10 on the
GAN, or through another notification.

A Standard Form (SF) 425 Federal Financial Report (FFR) is required if:

    1. A grant involves cost sharing, and the ED 524B, which collects cost sharing information, is not
       submitted or a program-specific report approved by U.S. Office of Management and Budget
       (0MB) does not collect cost sharing information;
    2. Program income was earned;


                                                     1


                                                                                                      P. 011
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                                                                                      GAN ATTACHMENT 2
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    3. Indirect cost information is to be reported and the ED 524B was not used or a program-specific
       report approved by 0MB does not collect indirect cost information;
    4. Program regulations or statute require the submission of the FFR; or
    5. Specific Award Conditions, or specific grant or subgrant conditions for designation of "high risk,"
       were imposed in accordance with 2 C.F.R. part 200.208 and part 3474.10 and required the
       submission of the FFR.

If the FFR is required, the notification may indicate one of the following (see the form and its
instructions at Standard Form (SF) 425 Federal Financial Report (FFR) ):

    1.   Quarterly - FFRs are required for reporting periods ending on 12/31, 03/31, 06/30, 09/30, and
         are due within 30 days after each reporting period.

    2. Semi-annual - FFRs are required for reporting periods ending on 03/31 and 09/30, and are due
       within 30 days after each reporting period.

    3. Annual - FFRs are required for reporting period ending 09/30, and is due within 30 days after the
       reporting period.

    4.   Final - In coordination with the submission of final performance reports, FFRs are due within 120
         days after the project or grant period end date (2 CFR 200.328).

When completing an FFR for submission, the following must be noted :

    I . Multiple Grant Reporting Using SF 425A Prohibited: While the FFR is a governmentwide form
         that is designed for single grant and multiple grant award reporting, the Department's policy is
         that multiple grant award reporting is not permitted for Department grants. Thus, a Department
         grantee that is required to submit an FFR in accordance with any of the above referenced
         selections must complete and submit one FFR for each of its grants. Do not use the FFR
         attachment (Standard Form 425A), which is available for reporting multiple grants, for reporting
         on Department grants. As such, references to multiple grant reporting and to the FFR
         attachment in items 2, 5 and 10 of the FFR are not applicable to Department grantees. With
         regards to item 1 of the note found in the FFR Instructions, a grantee must complete items l0(a)
         through l0(o) for each of its grants. The multiple award, multiple grant, and FFR attachment
         references found in items 2, 5, 6, before lO(a), in item l0(b), before l0(d), before l0(i) and
         before 10(1) of the Line Item Instructions for the FFR are not applicable to Department grants.

    2. Program Income: Unless disallowed by statute or regulation, a grantee will complete item l0(m)
       or l0(n) in accordance with the options or combination of options as provided in 2 CFR Part
       200.307. A grantee is permitted, in accordance with 2 CFR Part 200.307, to add program income
       to its Federal share to further eligible project or program objectives, use program income to
       finance the non-Federal share of the project or program; and deduct program income from the
       Federal share of the total project costs.


    3. Indirect Costs: A grantee will complete item ll(a) by listing the indirect cost rate type identified
         on its indirect cost rate agreement, as approved by its cognizant agency for indirect costs.



                                                     2


                                                                                                        P. 012
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                                                                                             GAN ATTACHMENT 2
                                                                                                      Revised 03/2021




         A Department grantee that does not have an indirect cost rate agreement approved by its
         cognizant agency for indirect costs, and that is using the Department approved (beyond the 90-
         day temporary period) temporary indirect cost rate of 10% of budgeted direct salaries and
         wages, or the de minim is rate of 10% of modified total direct cost (MTDC) must list its indirect
         cost rate in ll(a) as a Department Temporary Rate or De Minimis Rate. The de minim is rate of
         10% of MTDC consists of:

                  All direct salaries and wages, applicable fringe benefits, materials and supplies, services,
                  travel, and subawards and contracts up to the first $25,000 of each subaward (i.e.,
                  subgrant). MTDC excludes equipment, capital expenditures, charges for patient care,
                  rental costs, tuition remission, scholarships and fellowships, participant support costs
                  and the portion of each subaward in excess of $25,000. Other items, including contract
                  costs in excess of $25,000, may be excluded when necessary to avoid a serious inequity
                  in the distribution of indirect costs (see definition of MTDC at 2 CFR § 200.1).

         A training program grantee whose recovery of indirect cost limits indirect cost recovery to 8% of
         MTDC or the grantees negotiated indirect cost rate, whichever is less in accordance with EDGAR
         § 75.562 (cl, must list its rate in ll(a) as a Department Training Grant Rate. The 8% limit does
         not apply to agencies of Indian tribal governments, local governments, and States 1 as defined in
         2 CFR § 200.1

         A restricted program grantee must list its rate as a Restricted Indirect Cost Rate in ll(a). A
         restricted program (i.e., programs with statutory supplement-not-supplant requirements)
         grantee must utilize a restricted indirect cost rate negotiated with its cognizant agency for
         indirect costs, or may elect to utilize a restricted indirect cost rate of 8% MTDC if their
         negotiated restricted indirect cost rate calculated under 34 CFR 75.563 and 76.564 - 76.569, is
         not less than 8% MTDC. A State or local government 2 that is a restricted program grantee may
         not elect to utilize the 8% MTDC rate. Additionally, restricted program grantees may not utilize
         the de minimis rate, but may utilize the temporary rate until a restricted indirect cost rate is
         negotiated. If a restricted program grantee elects to utilize the temporary rate, it must list its
         rate as a Department Temporary Rate in ll(a).

         Grantees with indirect cost rates prescribed in program statute or regulation must list their rate
         as a Rate Required in Program Statute or Regulation in ll(a). Grantees are required to follow
         program-specific statutory or regulatory requirements that mandate either indirect cost rate
         type or maximum administrative costs recovery.

         For detailed information including restrictions related to temporary, de minim is, training,
         restricted, and program prescribed indirect cost rates see GAN ATTACHMENT 4.

    4. Supplemental Pages: If grantees need additional space to report financial information, beyond
       what is available within the FFR, they should provide supplemental pages. These additional
       pages must indicate the following information at the top of each page: the PR/ Award Number

1 Note that a State-funded institution of higher education is not considered a "State government" for these purposes;

and a Tribal college or university funded by a federally-recognized Tribe is not considered a Tribe for these
purposes.
2 Note that a State-funded institution of higher education is not considered a "State government" for these purposes.


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  also known as the Federal Identifying Number or FAIN, recipient organization, Unique Entity
  Identifier, Employer Identification Number {EIN), and period covered by the report.




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                   AN OVERVIEW OF SINGLE AUDIT REQUIREMENTS OF STATES,
                   LOCAL GOVERNMENTS, AND NONPROFIT ORGANIZATIONS

This GAN ATTACHMENT is not applicable to for-profit organizations. For-profit organizations
comply with audit requirements specified in block 10 of their Grant Award Notification
(GAN).

Summary of Single Audit Requirements for States, Local Governments and Nonprofit
Organizations:

    1. Single Audit. A non-Federal entity (a State, local government, Indian tribe,
       Institution of Higher Education (IHE)1, or nonprofit organization) that expends
       $750,000 or more during the non-Federal entity's fiscal year in Federal awards must
       have a single audit conducted in accordance with 2 CFR 200.501, "Audit
       Requirements," except when it elects to have a program specific audit conducted.

    2.   Program-specific audit election. When an auditee expends Federal awards under
         only one Federal program (excluding research and development (R&D)), and the
         Federal program's statutes, regulations, or the terms and conditions of the Federal
         award do not require a financial statement audit of the auditee, the auditee may
         elect to have a program-specific audit conducted. A program-specific audit may
         not be elected for R&D unless all of the Federal awards expended were received
         from the same Federal agency, or the same Federal agency and the same pass-
         through entity, and that Federal agency, or pass-through entity in the case of a
         subrecipient, approves in advance a program-specific audit.

    3. Exemption when Federal awards expended are less than $750,000. A non-Federal
       entity that expends less than $750,000 during the non-Federal entity's fiscal year in
       Federal awards is exempt from Federal audit requirements for that year, except as
       noted in 2 CFR 200.503, but records must be available for review or audit by
       appropriate officials of the Federal agency, pass-through entity, and Government
       Accountability Office (GAO) . Generally, grant records must be maintained for a
       period of three years after the date of the final expenditure report (2 CFR § 200.334)

    4.   Federally Funded Research and Development Centers (FFRDC). Management of an
         auditee that owns or operates a FFRDC may elect to treat the FFRDC as a separate
         entity.

    5.   Report Submission. To meet audit requirements of U.S. Office of Management and
         Budget (0MB) Uniform Guidance: Cost Principles, Audit, and Administrative
         Requirements for Federal Awards (Uniform Guidance), grantees must submit all
         audit documents required by Uniform Guidance 2 CFR 200.512, including Form SF-
         SAC: Data Collection Form electronically to the Federal Audit Clearinghouse at:


1 As defined under the Higher Education Act of 1965, as amended (HEA) section 101.

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        https://facides.census.gov/Account/Login.aspx.

        The audit must be completed, and the data collection form and reporting package
        must be submitted within the earlier of 30 calendar days after receipt of the
        auditor's report(s), or nine months after the end of the audit period. If the due date
        falls on a Saturday, Sunday, or Federal holiday, the reporting package is due the next
        business day. Unless restricted by Federal statutes or regulations, the auditee must
        make copies available for public inspection. Auditees and auditors must ensure that
        their respective parts of the reporting package do not include protected personally
        identifiable information. (2 CFR 200.512)

Grantees are strongly urged to obtain the "OMB Compliance Supplement" and to contact their
cognizant agency for single audit technical assistance.

The designated cognizant agency for single audit purposes is "the Federal awarding agency that provides
the predominant amount of direct funding to the recipient." Grantees should obtain a copy of the 0MB
Compliance supplement. This supplement will be instructive to both grantees and their auditors.
Appendix Ill of the supplement provides a list of Federal Agency Contacts for Single Audits, including
addresses, phone numbers, fax numbers, and e-mail addresses for technical assistance.

For single audit-related questions, if the U.S. Department of Education is the cognizant agency, grantees
should contact the Non-Federal Audit Team in the Department's Office of Inspector General, at oignon-
federalaudit@ed .gov. Additional resources for single audits are also available on the Non-Federal Audit
Team's website at https://www2 .ed .gov/a bout/offices/I ist/oig/nonfed/i ndex. html. For programmatic
questions, grantees should contact the education program contact shown on the Department's GAN.

Grantees can obtain information on single audits from :

The 0MB website at www.omb.gov. Look under Office of Management and Budget (in right column)
then click Office of Federal Financial Management (to obtain 0MB Compliance Supplement). The SF-
SAC: Data Collection Form can be found at the Federal Audit Clearinghouse at:
https://facides.census.gov/Files/2019-2021%20Checklist%20lnstructions%20and%20Form.pdf.

The American Institute of Certified Public Accountants (AICPA) has illustrative 0MB Single Audit
report examples that might be of interest to accountants, auditors, or financial staff at
www.aicpa.org.




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                         REQUEST FOR APPROVAL OF PROGRAM INCOME

In projects that generate program income, the recipient calculates the amount of program income
according to the guidance given in 2 CFR Part 200.307.



*** IF YOU RECEIVED YOUR GRANT AWARD NOTIFICATION ELECTRONICALLY AND YOU ARE SUBJECT
TO ANY OF THE RESTRICTIONS IDENTIFIED BELOW, THE RESTRICTION(S) WILL APPEAR IN BOX 10 ON
YOUR GRANT AWARD NOTIFICATION AS A GRANT TERM OR CONDITION OF THE AWARD. ***



Unless checked below as NOT ALLOWED, the recipient may exercise any of the options or combination
of options, as provided in 2 CFR Part 200.307, for using program income generated in the course of the
recipient's authorized project activities:

_ _ Not Allowed Adding program income to funds committed to the project by the Secretary and
   recipient and using it to further eligible project or program objectives;

_ _ Not Allowed Using program income to finance the non-Federal share of the project or program;
    and

_ _ Not Allowed Deducting program income from the total allowable cost to determine the net
   allowable costs.




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                                    TRAFFICKING IN PERSONS

The Department of Education adopts the requirements in the Code of Federal Regulations at 2
CFR 175 and incorporates those requirements into this grant through this condition. The grant
condition specified in 2 CFR 175.15(bl is incorporated into this grant with the following changes.
Paragraphs a.2.ii.B and b.2. ii. are revised to read as follows :

        "a.2.ii.B. Imputed to you or the subrecipient using the standards and due
        process for imputing the conduct of an individual to an organization that are
        provided in 34 CFR part 85."

        "b.2. ii. Imputed to the subrecipient using the standards and due process for
        imputing the conduct of an individual to an organization that are provided in
        34 CFR part 85."

Under this condition, the Secretary may terminate this grant without penalty for any violation of
these provisions by the grantee, its employees, or its subrecipients.




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                           FEDERAL FUNDING ACCOUNTABILITY TRANSPARENCY ACT
                          REPORTING SUBAWARDS AND EXECUTIVE COMPENSATION


The Federal Funding Accountability and Transparency Act (FFATA) is designed to increase transparency
and improve the public's access to Federal government information. To this end, FFATA requires that
Department of Education (Department) grant recipients:

    1. Report first-tier subawards made under Federal grants that are funded at $30,000 or more that
       meet the reporting conditions as set forth in this grant award term;
    2. Report their executives' compensation for all new Federal grants that are funded at $30,000 and
       that meet the reporting conditions as set forth in this grant award term; and
    3. Report executive compensation data for their first-tier subrecipients that meet the reporting
       conditions as set forth in this grant award term .

For FFATA reporting purposes, the Department grant recipient is the entity listed in box 1 of the Grant
Award Notification.

Only first-tier subawards made by the Department grant recipient to its first-tier subrecipients and the
first-tier subrecipients' executive compensation are required to be reported in accordance with FFATA.

Subaward, Subrecipient, Recipient, Total Compensation, Executives, and other key terms, are defined
within item 5, Definitions, of this grant award term.

This grant award term is issued in accordance with 2 CFR Part 170-Reporting Subaward And Executive
Compensation Information.

    1. Reporting of First-tier Subawards -

    a. Applicability and what to report.

         Unless you are exempt as provided item 4, Exemptions, of this grant award term, you must
         report each obligation that equals or exceeds $30,000 in Federal funds for a first-tier subaward
         to a non-Federal entity or Federal agency.

         You must report the information about each obligating action that are specified in the
         submission instructions posted at FSRS.

    b.   Where and when to report.

         The Department grant recipient must report each obligating action described in paragraph 1.a.
         of this award term to FSRS.

         Report subaward information no later than the end of the month following the month in which
         the subaward obligation was made. For example, if the obligation was made on November 7,
         2020, the obligation must be reported by no later than December 31, 2020.

    2.   Reporting Total Compensation of the Department's Grant Recipients' Executives -


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a. Applicability and what to report.

           You must report total compensation for each of your five most highly compensated executives
           for the preceding completed fiscal year, if-

                The total Federal funding authorized to date under this Federal award equals or exceeds
                $30,000;

           ii   In the preceding fiscal year, you received-

                A. 80 percent or more of your annual gross revenues from Federal procurement contracts
                   (and subcontracts) and Federal financial assistance subject to the Transparency Act, as
                   defined at 2 CFR 170.320 (and subawards), and
                B. $25,000,000 or more in annual gross revenues from Federal procurement contracts (and
                   subcontracts) and Federal financial assistance subject to the Transparency Act, as
                   defined at 2 CFR 170.320 (and subawards); and,
                C. The public does not have access to information about the compensation of the
                   executives through periodic reports filed under section 13(a) or lS(d) of the Securities
                   Exchange Act of 1934 (15 U.S.C. 78m(a), 78o(d)) or section 6104 of the Internal Revenue
                   Code of 1986. (To determine if the public has access to the compensation information,
                   see the U.S. Security and Exchange Commission total compensation filings at SEC
                   Investor.gov Executive Compensation.)

b.         Where and when to report.

           You must report executive total compensation described in paragraph 2.a. of this grant award
           term :

      i.        As part of your registration profile at SAM.gov.

     ii.        By the end of the month following the month in which this award is made (for example, if
                the obligation was made on November 7, 2020 the executive compensation must be
                reported by no later than December 31, 2020), and annually thereafter.

3.         Reporting of Total Compensation of Subrecipient Executives -

a. Applicability and what to report.

           Unless you are exempt as provided in item 4, Exemptions, of this award term, for each first-tier
           non-Federal entity subrecipient under this award, you shall report the names and total
           compensation of each of the subrecipient's five most highly compensated executives for the
           subrecipient's preceding completed fiscal year, if-

      i.        In the subrecipient's preceding fiscal year, the subrecipient received-




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               A. 80 percent or more of its annual gross revenues from Federal procurement contracts
                  (and subcontracts) and Federal financial assistance subject to the Transparency Act, as
                  defined at 2 CFR 170.320 (and subawards), and
               B. $25,000,000 or more in annual gross revenues from Federal procurement contracts (and
                  subcontracts) and Federal financial assistance subject to the Transparency Act, as
                  defined at 2 CFR 170.320 (and subawards); and,
               C. The public does not have access to information about the compensation of the
                  executives through periodic reports filed under section 13(a) or 15(d) of the Securities
                  Exchange Act of 1934 (15 U.S.C. 78m(a), 78o(d)) or section 6104 of the Internal Revenue
                  Code of 1986. (To determine if the public has access to the compensation information,
                  see the U.S. Security and Exchange Commission total compensation filings at SEC
                  Investor.gov Executive Compensation.)

b.         Where and when to report.

           You must report subrecipient executive total compensation described in paragraph 3.a. of this
           grant award term:

      i.       In FSRS. You must include a condition on subawards that requires the subrecipients to
               timely report the information required under paragraph 3.a. to you the prime awardee, or
               in the SAM .gov. Subrecipient executive compensation entered in SAM .gov by the
               subrecipient will pre-populate in FSRS, so you do not have to report when subrecipients
               enter this information in SAM .gov. Subrecipient executive compensation not entered in
               SAM.gov by the subrecipient is reported in FSRS by you the Department grant recipient.

     ii.       By the end of the month following the month during which you make the subaward. For
               example, if the subaward obligation was made on November 7, 2020 the subrecipient's
               executive compensation must be reported by no later than December 31, 2020.

4.         Exemptions -

a.         If, in the previous tax year, you had gross income, from all sources, under $300,000, you are
           exempt from the requirements to report:

      i.       Subawards, and

     ii.      The total compensation of the five most highly compensated executives of any subrecipient.

5. Definitions -

a.         For purposes of this award term:

      i.       Federal Agency means a Federal agency as defined at 5 U.S.C. 551(1) and further clarified by
               5 u.s.c. 552(f).

     ii.       Non-Federal Entity means all of the following, as defined in 2 CFR part 25 :

               A Governmental organization, which is a State, local government, or Indian tribe;

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       A foreign public entity;

       A domestic or foreign nonprofit organization; and,

       A domestic or foreign for-profit organization

iii.   Executive means officers, managing partners, or any other employees in management
       positions.

iv.    Obligation, when used in connection with a non-Federal entity's utilization of funds under a
       Federal award, means orders placed for property and services, contracts and subawards
       made, and similar transactions during a given period that require payment by the non-
       Federal entity during the same or a future period.

 v.    Subaward:

       This term means a legal instrument to provide support for the performance of any portion
       of the substantive project or program for which you received this award and that you as the
       recipient award to an eligible subrecipient.

       The term does not include your procurement of property and services (such as payments to
       a contractor, small purchase agreements, vendor agreements, and consultant agreements)
       that are needed for the benefit of the prime awardee to carry out the project or program
       (for further explanation, see 2 CFR 200.331). For example, the following are not considered
       subawards:

           Cleaning Vendors: Vendors that are hired by a grantee to clean its facility.
           Payroll Services Vendors: Vendors that carryout payroll functions for the grantee.
           Information Technology Vendors: Vendors that provide IT support to grant staff.

       Payments to individuals that are beneficiaries of Federal programs are not considered
       subawards.

       A subaward may be provided through any legal agreement, including an agreement that you
       or a subrecipient considers a contract.

 v.    Subrecipient means a non-Federal entity or Federal agency that:

       Receives a subaward from you (the recipient) under this award; and

       Is accountable to you for the use of the Federal funds provided by the subaward.

       In accordance with its subaward, uses the Federal funds to carry out a program for a public
       purpose specified in authorizing statute, as opposed to providing goods or services for the
       benefit of the Department prime awardee.



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vii.    Recipient means a non-Federal entity that receives a Federal award directly from a Federal
        awarding agency to carry out an activity under a Federal program. The term recipient does
        not include subrecipients. See also §200.69 Non-Federal entity.
viii.   Total compensation means the cash and noncash dollar value earned by the executive
        during the recipient's or subrecipient's preceding fiscal year and includes the following (for
        more information see 17 CFR 229.402(c)(2)):

        Salary and bonus.

        Awards of stock, stock options, and stock appreciation rights. Use the dollar amount
        recognized for financial statement reporting purposes with respect to the fiscal year in
        accordance with the Statement of Financial Accounting Standards No. 123 (Revised 2004)
        (FAS 123R), Shared Based Payments.

        Earnings for services under non-equity incentive plans. This does not include group life,
        health, hospitalization, or medical reimbursement plans that do not discriminate in favor of
        executives and are available generally to all salaried employees.

        Change in pension value. This is the change in present value of defined benefit and actuarial
        pension plans.

        Above-market earnings on deferred compensation which is not tax-qualified.

        Other compensation, if the aggregate value of all such other compensation (e.g., severance,
        termination payments, value of life insurance paid on behalf of the employee, perquisites,
        or property) for the executive exceeds $10,000.




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                           SPECIFIC CONDITIONS FOR DISCLOSING
                       FEDERAL FUNDING IN PUBLIC ANNOUNCEMENTS

When issuing statements, press releases, requests for proposals, bid solicitations and other
documents describing projects or programs funded in whole or in part with Federal money, U.S.
Department of Education grantees shall clearly state:

        1) the percentage of the total costs of the program or project which will be financed with
           Federal money;

        2) the dollar amount of Federal funds for the project or program; and

        3) the percentage and dollar amount of the total costs of the project or program that will
           be financed by non-governmental sources.

Recipients must comply with these conditions under Division H, Title V, Section 505 of Public Law 116-
260, Consolidated Appropriations Act, 2021.




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     PROHIBITION OF TEXT MESSAGING AND EMAILING WHILE DRIVING
               DURING OFFICIAL FEDERAL GRANT BUSINESS

  Federal grant recipients, sub recipients and their grant personnel are prohibited from text
  messaging while driving a government owned vehicle, or while driving their own privately-
  owned vehicle during official grant business, or from using government supplied electronic
  equipment to text message or email when driving.


  Recipients must comply with these conditions under Executive Order 13513,
  "Federal Leadership on Reducing Text Messaging While Driving," October 1,
  2009.




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           REGISTRATION OF UNIQUE ENTITY IDENTIFIER (UEI) NUMBER AND TAXPAYER
        IDENTIFICATION NUMBER (TIN) IN THE SYSTEM FOR AWARD MANAGEMENT (SAM)



The U.S. Department of Education (Department) Grants Management System (GS) disburses payments
via the U.S. Department of Treasury (Treasury) . The U.S. Treasury requires that we include your Tax
Payer Identification Number (TIN) with each payment. Therefore, in order to do business with the
Department you must have a registered Unique Entity Identifier (UEI) and TIN number with the SAM,
the U.S. Federal Government's primary registrant database. If the payee UEI number is different than
your grantee UEI number, both numbers must be registered in the SAM. Failure to do so will delay the
receipt of payments from the Department.

A TIN is an identification number used by the Internal Revenue Service (IRS) in the administration of tax
laws. It is issued either by the Social Security Administration (SSA) or by the IRS. A Social Security
number (SSN) is issued by the SSA whereas all other TINs are issued by the IRS.

The following are all considered TINs according to the IRS.


    •    Social Security Number "SSN"
    •    Employer Identification Number "EIN"
    •    Individual Taxpayer Identification Number "ITIN"
    •    Taxpayer Identification Number for Pending U.S. Adoptions "ATIN"
    •    Preparer Taxpayer Identification Number "PTIN"

If your UEI number is not currently registered with the SAM, you can easily register by going to
www.sam .gov. Please allow 3-5 business days to complete the registration process. If you need a new
TIN, please allow 2-5 weeks for your TIN to become active. If you need assistance during the
registration process, you may contact the SAM Federal Service Desk at 866-606-8220.

If you are currently registered with SAM, you may not have to make any changes. However, please take
the time to validate that the TIN associated with your UEI is correct.

If you have any questions or concerns, please contact the GS Hotline at 888-336-8930.




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       SYSTEM FOR AWARD MANAGEMENT AND UNIVERSAL IDENTIFIER REQUIREMENTS

1.   Requirement for System for Award Management (SAM)

Unless you are exempted from this requirement under 2 CFR 25.110, you are, in accordance with your
grant program's Notice Inviting Applications, required to maintain an active SAM registration with
current information about your organization, including information on your immediate and highest level
owner and subsidiaries, as well as on all predecessors that have been awarded a Federal contract or
grant within the last three years, if applicable, at all times during which you have an active Federal
award or an application or plan under consideration by a Federal awarding agency. To remain
registered in the SAM database after your initial registration, you are required to review and update
your information in the SAM database on an annual basis from the date of initial registration or
subsequent updates to ensure it is current, accurate and complete.


2.   Requirement for Unique Entity Identifier (UEI) Numbers

If you are authorized to make subawards under this award, you:

1. Must notify potential subrecipients that they may not receive a subaward from you unless they
   provided their UEI number to you .
2. May not make a subaward to a subrecipient when the subrecipient fails to provide its UEI number to
   you .

3.   Definitions

For purposes of this award term:

1.   System for Award Management (SAM) means the Federal repository into which a recipient must
     provide information required for the conduct of business as a recipient. Additional information
     about registration procedures may be found at the SAM internet site (currently at
     https://www.sam.gov).

2. Unique Entity Identifier (UEI) means the identifier assigned by SAM registration to uniquely identify
   business entities.

3. Recipient means a non-Federal entity that receives a Federal award directly from a Federal awarding
   agency to carry out an activity under a Federal program. The term recipient does not include
   subrecipients. See 2 CFR 200.86.

4. Subaward means an award provided by a pass-through entity to a subrecipient for the subrecipient
   to carry out part of a Federal award received by the pass-through entity. It does not include
   payments to a contractor or payments to an individual that is a beneficiary of a Federal program. A
   subaward may be provided through any form of legal agreement, including an agreement that the
   pass-through entity considers a contract. See 2 CFR 200.92 .

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5. Subrecipient means a non-Federal entity that receives a subaward from a pass-through entity to
   carry out part of a Federal program; but does not include an individual that is a beneficiary of such
   program. A subrecipient may also be a recipient of other Federal awards directly from a Federal
   awarding agency. See 2 CFR 200.93.




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KEY FINANCIAL MANAGEMENT REQUIREMENTS FOR DISCRETIONARY GRANTS
             AWARDED BY THE DEPARTMENT OF EDUCATION

The Department expects grantees to administer Department grants in accordance with
generally accepted business practices, exercising prudent judgment so as to maintain
proper stewardship of taxpayer dollars. This includes using fiscal control and fund
accounting procedures that insure proper disbursement of and accounting for Federal
funds. In addition, grantees may use grant funds only for obligations incurred during
the funding period .

Title 2 of the Code of Federal Regulations Part 200, "Uniform Administrative
Requirements, Cost Principles, and Audit Requirements for Federal Awards," establishes
requirements for Federal awards made to non-Federal entities. The Education
Department General Administrative Regulations in 34 CFR (EDGAR) 75, 76, 77, 79, 81,
82, 84, 86, 97, 98, and 99 contain additional requirements for administering
discretionary grants made by this Department. The most recent version of these
regulations may be accessed at the following URLs:

The Education Department General Administrative Regulations (EDGAR)

2 CFR Part 200 Uniform Administrative Requirements. Cost Principles. and Audit
Requirements for Federal Awards

The information on page 2, "Selected Topics in Administering Department Discretionary
Grants," highlights major administrative requirements of 2 CFR Part 200. In addition, a
few of the topics discuss requirements that the Department imposes on its discretionary
grantees under EDGAR, Part 75 (Direct Grants). The specific sections of 2 CFR Part 200
and of EDGAR that address the topics discussed are shown in parentheses. The
Department urges grantees to read the full text of these and other topics in EDGAR and
in 2 CFR Part 200.

Grantees are reminded that a particular grant might be subject to additional
requirements of the authorizing statute for the program that awarded the grant and/or
any regulations issued by the program office. Grantees should become familiar with
those requirements as well, because program-specific requirements might differ from
those in 2 CFR Part 200 and in EDGAR.

The Department recommends that the project director and the fiscal management staff
of a grantee organization communicate frequently with each other about the grant
budget. Doing so will help to assure that you use Federal funds only for those
expenditures associated with activities that conform to the goals and objectives
approved for the project.

Grantees may direct any questions regarding the topics discussed on page 2, "Selected
Topics in Administering Department Discretionary Grants,"or about any other aspect of
administering your grant award to the Department program staff person named in Block
3 of the Grant Award Notification.


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      SELECTED TOPICS IN ADMINISTERING DEPARTMENT DISCRETIONARY GRANTS

I.      Financial Management Systems (2 CFR Part 200.302)

In general, grantees are required to have financial management systems that:

        *   provide for accurate, current, and complete disclosure of results regarding
            the use of funds under grant projects;
        *   provide adequate source documentation for Federal and non-Federal funds
            used under grant projects;
        *   contain procedures to determine the allowability, allocability, and
            reasonableness of obligations and expenditures made by the grantee; and
        *   enable the grantee to maintain effective internal control and fund
            accountability procedures, e.g., requiring separation of functions so that the
            person who makes obligations for the grantee is not the same person who
            signs the checks to disburse the funds for those obligations.

State systems must account for funds in accordance with State laws and procedures that
apply to the expenditure of and the accounting for a State's own funds. A State's
procedures, as well as those of its subrecipients and cost-type contractors, must be
sufficient to permit the preparation of reports that may be required under the award as
well as provide the tracing of expenditures to a level adequate to establish that award
funds have not been used in violation of any applicable statutory restrictions or
prohibitions.

II.     Federal Payment (2 CFR Part 200.305)

Under this part --

        *   the Department pays grantees in advance of their expenditures if the
            grantee demonstrates a willingness and ability to minimize the time
            between the transfer of funds to the grantee and the disbursement of the
            funds by the grantee;
        *   grantees repay to the Federal government interest earned on advances; and
        *    grantees, generally, must maintain advance payments of Federal awards in
            interest bearing accounts.



In general, grantees should make payment requests frequently, only for small
amounts sufficient to meet the cash needs of the immediate future.

The Department has recently encountered situations where grantees failed to request
funds until long after the grantee actually expended its own funds for the costs of its
grant. Grantees need to be aware that, by law, Federal funds are available for grantees
to draw down for only a limited period of time, after which the funds revert to the U.S.
Treasury. In some cases grantees have requested funds too late for the Department to
be able to pay the grantees for legitimate costs incurred during their project periods.


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The Department urges financial managers to regularly monitor requests for payment
under their grants to assure that Federal funds are drawn from the Department GS
Payment System at the time those funds are needed for payments to vendors and
employees.

ill.       Personnel (EDGAR§§ 75.511-75.519 and 2 CFR Part 200 Subpart D and E)

The rules governing personnel costs are located in EDGAR Part 75 and 2 CFR Part 200
Subparts D and E. Part 75 covers issues such as paying consultants with grant funds,
prohibiting dual compensation of staff, and waiving the requirement for a full-time
project director. The rules clarifying changes in key project staff are located in 2 CFR
Part 200.308 (c)(2). General rules governing reimbursement of salaries and
compensation for staff working on grant projects are addressed in the cost principles in
2 CFR Part 200 Subpart D and E. In all cases, payments of any type to personnel must be
supported by complete and accurate records of employee time and effort. For those
employees that work on multiple functions or separately funded programs or projects,
the grantee must also maintain time distribution records to support the allocation of
employee salaries among each function and separately funded program or project.

IV.       Cost Principles (2 CFR Part 200 Subpart E)

All costs incurred under any grant are subject to the cost principles found in 2 CFR Part
200 Subpart E. The cost principles provide lists of selected items of allowable and
unallowable costs, and must be used in determining the allowable costs of work
performed under the grant.

V.         Procurement Standards (2 CFR Part 200.317-327}

Under 2 CFR Part 200.317, States are required to follow the procurement rules the
States have established for purchases funded by non-Federal sources. When procuring
goods and services for a grant's purposes, all other grantees may follow their own
procurement procedures, but only to the extent that those procedures meet the
minimum requirements for procurement specified in the regulations. These
requirements include written competition procedures and codes of conduct for grantee
staff, as well as requirements for cost and price analysis, record-keeping and contractor
compliance with certain Federal laws and regulations. These regulations also require
grantees to include certain conditions in contracts and subcontracts, as mandated by
the regulations and statutes.

VI.        Indirect Costs (EDGAR §§75.560-564 and 2 CFR Part 200.414}

In addition to the information presented beslow, see GAN ATTACHMENT 4 for addional
information including restrictions related to temporary, de minimis, training, restricted,
and program prescribed indirect cost rates.

A.     Unrestricted Indirect Cost Rate

To utilize an unrestricted indirect cost rate, a grantee must have an indirect cost agreement with
its cognizant agency, submit an indirect cost rate proposal to its cognizant agency for indirect

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costs (cognizant agency) within 90 days after the award of this grant or elect to utilize the de
minim is rate under 2 CFR § 200.414{f) or the temporary indirect cost rate (subject to limitations
described below).

The grantee must provide proof of its negotiated indirect cost rate agreement to the
Department as soon as it has signed such an agreement with its cognizant agency.

B. Temporary Indirect Cost Rate

A grantee that does not have a current negotiated indirect cost rate agreement may recover
indirect costs at a temporary rate, which is limited to 10% of budgeted direct salaries and wages
{See 34 CFR § 75.560{c)); or it may choose not to charge indirect costs to the grant. The
temporary rate can only be used for 90 days unless the exceptional circumstances apply under
34 CFR § 75.560{d}{2}.

If the grantee has not submitted its indirect cost proposal to its cognizant agency within the 90-
day period, it may no longer recover indirect costs utilizing the temporary indirect cost rate until
it has negotiated an indirect cost rate agreement with its cognizant agency. Once a grantee
obtains a federally recognized indirect cost rate that is applicable to this grant, the grantee may
use that indirect cost rate to claim indirect cost reimbursement.

C.   De minimis Indirect Cost Rate

Institutions of Higher Education {IHEs), federally-recognized Indian Tribes, State and Local
Governments 1 receiving less than $35 million in direct federal funding, and nonprofit
organizations, if they do not have a current negotiated (including provisional) rate, and are not
subject to the Department's training rate or restricted rate (supplement-not-supplant
provisions) may elect to charge a de minimis indirect cost rate of 10% of modified total direct
costs {MTDC}. This rate may be used indefinitely.

MTDC consists of all direct salaries and wages, applicable fringe benefits, materials and supplies,
services, travel, and subawards and contracts up to the first $25,000 of each subaward (i.e.,
subgrant). MTDC excludes equipment, capital expenditures, charges for patient care, rental
costs, tuition remission, scholarships and fellowships, participant support costs and the portion
of each subaward in excess of $25,000. Other items, including contract costs in excess of
$25,000, may be excluded when necessary to avoid a serious inequity in the distribution of
indirect costs (see definition of MTDC at 2 CFR § 200.1}.

Additionally, the de minim is rate may not be used by grantees that are subject to the
Department's training indirect cost rate {34 CFR § 75.562} or restricted indirect cost rate. The de
minim is rate may be used indefinitely. However, if a grantee chooses to use the de minim is rate
to recover indirect costs, it must do so for all of its Federal awards until such time as the grantee
negotiates an indirect cost rate with its cognizant agency. Once a grantee obtains a federally
recognized indirect cost rate that is applicable to this grant, the grantee may use that indirect
cost rate to claim indirect cost reimbursement.

1 Note that a State-funded institution of higher education is not considered a "State government" for

these purposes.


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D. Programs with a Supplement-not-supplant requirement {restricted indirect cost rate)

A restricted program {i.e., programs with statutory supplement-not-supplant requirements)
grantee must utilize a restricted indirect cost rate negotiated with its cognizant agency for
indirect costs, or may elect to utilize a restricted indirect cost rate of 8% MTDC if their
negotiated restricted indirect cost rate calculated under 34 CFR 75.563 and 76.564 - 76.569, is
not less than 8% MTDC. A State or local government 2 that is a restricted program grantee may
not elect to utilize the 8% MTDC rate. Additionally, restricted program grantees may not utilize
the de minimis rate, but may utilize the temporary rate until a restricted indirect cost rate is
negotiated.

E.          Training Grant Indirect Cost Rate

If the grantee is a training grant recipient and is not a State, local, or Tribal government 3, the
grantee must negotiate a rate under 34 CFR 75.562. This provision limits indirect cost recovery
to 8% of modified total direct costs or the grantees negotiated indirect cost rate, whichever is
less.

The recovery using the training grant indirect cost rate is subject to the following limitations:

       i.       The lesser of the 8% indirect cost rate or negotiated indirect cost rate also applies to
                sub-awards that fund training.
      ii.       The 8% limit does not apply to agencies of Indian tribal governments, local
                governments, and States as defined in 2 CFR § 200.1, respectively.
     iii.       Indirect costs in excess of the 8% limit may not be charged directly, used to satisfy
                matching or cost-sharing requirements, or charged to another Federal award.
     iv.        A grantee using the training rate of 8% is required to have documentation available for
                audit that shows that its negotiated indirect cost rate is at least 8%.

F.          Program-Specific Indirect Cost Rate

Grantees are required to follow program-specific statutory or regulatory requirements that
mandate either indirect cost rate type or maximum administrative costs recovery instead of the
general requirements described here.

VII.            Audit Requirements (2 CFR Part 200 Subpart F)

2 CFR 200 Subpart F requires that grantees that are non-Federal entities {a State, local
government, Indian tribe, IHE, or nonprofit organization that carries out a Federal award
as a recipient or subrecipient) obtain a non-Federal audit of their expenditures under
their Federal grants if the grantee expends more than $750,000 in Federal funds in one
fiscal year. 2 CFR Part 200 Subpart F contains the requirements imposed on grantees for


2 Note that a State-funded institution of higher education is not considered a "State government" for

these purposes.
3 Note that a State-funded institution of higher education is not considered a "State government" for

these purposes; and a Tribal college or university funded by a federally-recognized Tribe is not considered
a Tribe for these purposes.

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audits done in connection with the law.

The Department recommends hiring auditors who have specific experience in auditing
Federal awards under the regulations and the Compliance Supplement.

VIII.   Other Considerations

Some other topics of financial management covered in 2 CFR Part 200 that might affect
particular grants include program income (2 CFR Part 200.307), cost sharing or matching
(2 CFR Part 200.306), property management requirements for equipment and other
capital expenditures (2 CFR Parts 200.313, 200.439).




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                         MEMORANDUM TO ED DISCRETIONARY GRANTEES

You are receiving this memorandum to remind you of Federal requirements, found in 2 CFR Part 200, Uniform
Administrative Requirements, Cost Principles, and Audit Requirements, regarding cash drawdowns under your
grant account.

For any cash that you draw from your Department of Education (the Department) grant account, you
must:

•    draw down only as much cash as is necessary to meet the immediate needs of the grant project;
•    keep to the minimum the time between drawing down the funds and paying them out for grant
              activities; and
•    return to the Government the interest earned on grant funds deposited in interest-bearing bank
     accounts except for a small amount of interest earned each year that your entity is allowed to keep to
     reimburse itself for administrative expenses) .

In order to meet these requirements, you are urged to:

•    take into account the need to coordinate the timing of drawdowns with prior internal clearances (e.g., by
     boards, directors, or other officials) when projecting immediate cash needs so that funds drawn down
     from ED do not stay in a bank account for extended periods of time while waiting for approval;
•    monitor the fiscal activity (drawdowns and payments) under your grant on a continuous basis;
•    plan carefully for cash flow in your grant project during the budget period and review project cash
     requirements before each drawdown; and
•    pay out grant funds for project activities as soon as it is practical to do so after receiving cash from the
     Department.

Keep in mind that the Department monitors cash drawdown activity for all grants. Department staff will
contact grantees who appear to have drawn down excessive amounts of cash under one or more grants
during the fiscal quarter to discuss the particular situation . For the purposes of drawdown monitoring. the
Department will contact grantees who have drawn down 50% or more of the grant in the first quarter,
80% or more in the second quarter, and/or 100% of the cash in the third quarter of the budget period.
However, even amounts less than these thresholds could still represent excessive drawdowns for your
particular grant activities in any particular quarter. Grantees determined to have drawn down excessive
cash will be required to return the excess funds to the Department, along with any associated earned
interest, until such time as the money is legitimately needed to pay for grant activities. If you need
assistance with returning funds and interest, please contact the Department's GS Hotline by calling 1-888-
336-8930.

Grantees that do not follow Federal cash management requirements and/or consistently appear on the
Department's reports of excessive drawdowns could be:

•    subjected to specific award conditions or designated as a "high-risk" grantee [2 CFR Part 200.208
     and 2 CFR 3474.101, which could mean being placed on a "cash-reimbursement" payment method
     (i.e., a grantee would experience the inconvenience of having to pay for grant activities with its
     own money and waiting to be reimbursed by the Department afterwards);

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•   subject to further corrective action;
•   denied selection for funding on future ED grant applications [EDGAR 75.217(d)(3Hii}l; and/or
•   debarred or suspended from receiving future Federal awards from any executive agency of the Federal
    government.

You are urged to read 2 CFR Part 200.305 to learn more about Federal requirements related to grant payments
and to determine how to apply these requirements to any subgrantees. You are urged to make copies of this
memorandum and share it with all affected individuals within your organization.




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                      THE USE OF GRANT FUNDS FOR CONFERENCES AND MEETINGS

You are receiving this memorandum to remind you that grantees must take into account the following factors when
considering the use of grant funds for conferences and meetings:
      •    Before deciding to use grant funds to attend or host a meeting or conference, a grantee should:
              o    Ensure that attending or hosting a conference or meeting is consistent with its approved
                  application and is reasonable and necessary to achieve the goals and objectives of the grant;
              o    Ensure that the primary purpose of the meeting or conference is to disseminate technical
                  information, {e.g., provide information on specific programmatic requirements, best
                   practices in a particular field, or theoretical, empirical, or methodological advances made in
                  a particular field; conduct training or professional development; plan/coordinate the work
                   being done under the grant); and
              o   Consider whether there are more effective or efficient alternatives that can accomplish the
                  desired results at a lower cost, for example, using webinars or video conferencing.
      •   Grantees must follow all applicable statutory and regulatory requirements in determining whether
          costs are reasonable and necessary, especially the Cost Principles for Federal grants set out at 2 CFR
           Part 200 Subpart E of the, "Uniform Administrative Requirements, Cost Principles, and Audit
           Requirements for Federal Awards." In particular, remember that:
              o    Federal grant funds cannot be used to pay for alcoholic beverages; and
              o    Federal grant funds cannot be used to pay for entertainment, which includes costs for
                  amusement, diversion, and social activities.
      •   Grant funds may be used to pay for the costs of attending a conference. Specifically, Federal grant
          funds may be used to pay for conference fees and travel expenses {transportation, per diem, and
           lodging) of grantee employees, consultants, or experts to attend a conference or meeting if those
          expenses are reasonable and necessary to achieve the purposes of the grant.
              o   When planning to use grant funds for attending a meeting or conference, grantees should
                  consider how many people should attend the meeting or conference on their behalf. The
                   number of attendees should be reasonable and necessary to accomplish the goals and
                  objectives of the grant.
      •   A grantee hosting a meeting or conference may not use grant funds to pay for food for conference
          attendees unless doing so is necessary to accomplish legitimate meeting or conference business.
              o   A working lunch is an example of a cost for food that might be allowable under a Federal
                  grant if attendance at the lunch is needed to ensure the full participation by conference
                  attendees in essential discussions and speeches concerning the purpose of the conference
                  and to achieve the goals and objectives of the project.
      •   A meeting or conference hosted by a grantee and charged to a Department grant must not be
           promoted as a U.S. Department of Education conference. This means that the seal of the U.S.
           Department of Education must not be used on conference materials or signage without Department
          approval.




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        o   All meeting or conference materials paid for with grant funds must include appropriate
            disclaimers, such as the following:
                The contents of this (insert type of publication; e.g., book,
                report, film) were developed under a grant from the
                Department of Education. However, those contents do not
                necessarily represent the policy of the Department of
                Education, and you should not assume endorsement by the
                Federal Government.
•   Grantees are strongly encouraged to contact their project officer with any questions or concerns
    about whether using grant funds for a meeting or conference is allowable prior to committing grant
    funds for such purposes.
        o   A short conversation could help avoid a costly and embarrassing mistake.
•   Grantees are responsible for the proper use of their grant awards and may have to repay funds to
    the Department if they violate the rules on the use of grant funds, including the rules for meeting-
    and conference-related expenses.




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  MEMORANDUM TO REMIND DEPARTMENT OF EDUCATION GRANTEES OF EXISTING CASH
            MANAGEMENT REQUIREMENTS CONCERNING PAYMENTS


The Department of Education (Department) requires that its grantees adhere to existing cash
management requirements concerning payments and will ensure that their subgrantees are also aware
of these policies by providing them relevant information. A grantee's failure to comply with cash
management requirements may result in an improper payment determination by the Department in
accordance with the Payment Integrity Information Act (PIIA) of 2019 .

There are three categories of payment requirements that apply to the drawdown of funds from grant
accounts at the Department. The first two types of payments are subject to the requirements in the
Treasury Department regulations implementing the Cash Management Improvement Act (CMIA) of
1990, 31 U.S.C.6513, and the third is subject to the requirements in the Uniform Administrative
Requirements, Cost Principles, and Audit Requirements for Federal Awards (Uniform Guidance) at 2 CFR
part 200, 1 as follows :

  1.     Payments to a State under programs that are covered by a State's Treasury State Agreement
         (TSA);

  2.     Payments to States under programs that are not covered by a TSA; and

  3.     Payments to other non-Federal entities, including nonprofit organizations and local
         governments.

CMIA Requirements Applicable to Programs included in a TSA

Generally, under the Treasury Department regulations implementing the CMIA, only major assistance
programs (large-dollar programs meeting thresholds in 31 CFR § 205.5) are included in a State's written
TSA. See 31 CFR § 205, subpart A. Programs included in a TSA must use approved funding techniques
and both States and the Federal government are subject to interest liabilities for late payments. State
interest liabilities accrue from the day federal funds are credited to a State account to the day the State
pays out the federal funds for federal assistance program purposes. 31 CFR § 205.15. If a State makes a
payment under a Federal assistance program before funds for that payment have been transferred to
the State, Federal Government interest liabilities accrue from the date of the State payment until the
Federal funds for that payment have been deposited to the State account. 31 CFR § 205.14.

CMIA Requirements Applicable to Programs Not Included in a TSA

Payments to States under programs not covered by a State's TSA are subject to subpart B of Treasury's
regulations in 31 CFR § 205. These regulations provide that a State must minimize the time between the
drawdown of funds from the federal government and their disbursement for approved program
activities. The timing and amount of funds transfers must be kept to a minimum and be as close as is
administratively feasible to a State's actual cash outlay for direct program costs and the proportionate
share of any allowable indirect costs. 31 CFR § 205.33(a) . States should exercise sound cash
management in funds transfers to subgrantees.


1 The Department adopted the Uniform Guidance as regulations of the Department at 2 CFR part 3474.



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Under subpart B, neither the States nor the Department owe interest to the other for late payments. 31
CFR § 205.33(b). However, if a State or a Federal agency is consistently late in making payments,
Treasury can require the program to be included in the State's TSA. 31 CFR § 205.35.

Fund transfer requirements for grantees other than State governments and subgrantees

The transfer of Federal program funds to grantees other than States and to subgrantees are subject to
the payment and interest accrual requirements in the Uniform Guidance at 2 CFR § 200.305(b). These
requirements are like those in subpart B of the Treasury Department regulations in 31 CFR part 205,
requiring that "payments methods must minimize the time elapsing between the transfer of funds from
the United States Treasury or the pass-through entity and the disbursement by the non-Federal entity."
2 CFR § 200.305(b) introduction.

The Federal Government and pass-through entities must make payments in advance of expenditures by
grantees and subgrantees if these non-Federal entities maintain, or demonstrate the willingness to
maintain, written procedures "that minimize the time elapsing between the transfer of funds and
disbursement by the non-Federal entity, and financial management systems that meet the standards for
fund control and accountability." 2 CFR § 200.305(b)(l) . If a grantee or subgrantee cannot meet the
criteria for advance payments, a Federal agency or pass-through entity can pay that entity through
reimbursement. See 2 CFR § 200.305(b)(l) and (4) for more detailed description of the payment
requirements and the standards for requiring that payments be made by reimbursement.

Non-Federal entities must maintain advance payments in interest bearing accounts unless certain
conditions exist. See 2 CFR § 200.305(b)(8) for those conditions. The requirements regarding interest
accrual and remittance follow:

Grantees and subgrantees must annually remit interest earned on federal advance payments except
that interest earned amounts up to $500 per year may be retained for administrative expense. Any
additional interest earned on Federal advance payments deposited in interest-bearing accounts must be
remitted annually to the Department of Health and Human Services Payment Management System
(PMS) through an electronic medium using either Automated Clearing House (ACH) network or a
Fedwire Funds Service payment. 2 CFR § 200.305(b)(9)(i) and (ii).

  1.     When returning interest through ACH Direct Deposit or Fedwire, grantees must include the
         following in their return transaction:

                   •   PMS Account Number (PAN). NOTE: The PAN is the same series of alpha-numeric
                       characters used for payment request purposes (e.g.: C1234Gl).
                   •   PMS document number.
                   •   The reason for the return (e.g., interest, part interest part other, etc.).
                   •   An explanation stating that the refund is for interest payable to the Department of
                       Health and Human Services, and the grant number(s) for which the interest was
                       earned.

         a.   U.S. Department of Education grantees are generally located and operate domestically and
              return interest domestically. Below is PSC ACH account information for interest returned




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              domestically. For international ACH interest returned, account information is available at:
              Returning Funds/Interest.

                   •   PSC ACH Routing Number is:
                   •   PSC DFI Accounting Number
                   •   Bank Name: Credit Gateway - ACH Receiver
                   •   Location: St. Paul, MN

         b. Service charges may be incurred from a grantee's financial institution when a Fedwire to
            return interest is initiated. For FedWire returns, Fedwire account information is as follows:

                   •   Fedwire Routing Number:
                   •   Agency Location Code (ALC):
                   •   Bank Name: Federal Reserve Bank
                   •   Treas NYC/Funds Transfer Division
                   •   Location: New York, NY

  2.     Interest may be returned by check using only the U.S. Postal Service; however, returning
         interest via check may take 4-6 weeks for processing before a check payment may be applied to
         the appropriate PMS account.

         a.   Interests returned by check are to be mailed (USPS only) to:

                   •   HHS Program Support Center
                       PO Box 979132
                       St. Louis, MO 63197

              A brief statement explaining the nature of the return must be included.

         b. To return interest on a grant not paid through the PMS, make the check payable to the
            Department of Health and Human Services, and include the following with the check:

                   •   An explanation stating that the refund is for interest
                   •   The name of the awarding agency
                   •   The grant number(s) for which the interest was earned
                   •   The return should be made payable to: Department of Health and Human Services.

  3.     For detailed information about how to return interest, visit the PSC Retuning Funds/Interest
         page at: Returning Funds/Interest

Grantees, including grantees that act as pass-through entities and subgrantees have other
responsibilities regarding the use of Federal funds. For example, all grantees and subgrantees must
have procedures for determining the allowability of costs for their awards. We highlight the following
practices related to the oversight of subgrantee compliance with the financial management
requirements in the Uniform Guidance that will assist State grantees (pass-through entities) in meeting
their monitoring responsibilities. Under 2 CFR § 200.332, pass-through entities must -




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                                                                                      GAN ENCLOSURE 4
                                                                                            Revised 03/2021
  1.     Evaluate each subrecipient's risk of noncompliance with Federal statutes, regulations, and the
         terms and conditions of the subaward for purposes of determining the appropriate subrecipient
         monitoring.

  2.     Monitor the performance and fiscal activities of the subrecipient to ensure that the subaward is
         used for authorized purposes, in compliance with Federal statutes, regulations, and the terms
         and conditions of the subaward; and that subaward performance goals are achieved.

A small number of Department grant programs have program-specific cash management and payment
requirements based on the authorizing legislation or program regulations. These program-specific
requirements may supplement or override general cash management or payment requirements. If you
have any questions about your specific grant, please contact the Education Program Contact listed in
Block 3 of your Grant Award Notification.




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                                                                                   GAN ATTACHMENT 5
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    RECIPIENTS OF DEPARTMENT OF EDUCATION GRANTS AND COOPERATIVE AGREEMENTS
                  FREQUENTLY ASKED QUESTIONS ON CASH MANAGEMENT


Q     What are the Federal Laws and Regulations Regarding Payments to the States?
A     The Cash Management Improvement Act of 1990 (CM/A) establishes interest liabilities for the
      Federal and State governments when the Federal Government makes payments to the States.
      See 31 U.S.C. 3335 and 6503. The implementing regulations are in Title 31 of the Code of
      Federal Regulations (CFR), Part 205, https://www.ecfr.gov/cgi-bin/text-
      idx?tp1=/ecfrbrowse/Title31/31cfr205 main 02.tpl. Non-Federal entities other than States
      follow the rules on Federal payments set out in 2 CFR 200.305.

Q     What is a Treasury-State Agreement (TSA)?
A     A TSA documents the accepted funding techniques and methods for calculating interest agreed
      upon by the U.S. Department of the Treasury (Treasury) and a State. It identifies the Federal
      assistance programs that are subject to interest liabilities under the CMIA. The CMIA regulations
      specify a number of different funding techniques that may be used by a State but a State can
      negotiate with the Treasury Department to establish a different funding technique for a
      particular program. A TSA is effective until terminated and, if a state does not have a TSA,
      payments to the State are subject to the default techniques in the regulations that Treasury
      determines are appropriate.

Q     What are the CMIA requirements for a program subject to a Treasury-State Agreement?
A     Payments to a State under a program of the Department are subject to the interest liability
      requirements of the CMIA if the program is included in the State's Treasury-State Agreement
      (TSA) with the Department of Treasury. If the Federal government is late in making a payment to
      a State, it owes interest to the State from the time the State spent its funds to pay for
      expenditure until the time the Federal government deposits funds to the State's account to pay
      for the expenditure. Conversely, if a State is late in making a payment under a program of the
      Department, the State owes interest to the Federal government from the time the Federal
      government deposited the funds to the State's account until the State uses those funds to make
      a payment. For more information, GAN Enclosure 4.


Q     What are the CMIA requirements for a program that is not subject to a Treasury-State
      Agreement?
A     If a program is not included in the State's TSA, neither the State nor the Federal government are
      liable for interest for making late payments. However, both the Federal government and the
      State must minimize the time elapsing between the date the State requests funds and the date
      that the funds are deposited to the State's accounts. The State is also required to minimize the
      time elapsed between the date it receives funds from the Federal government and the date it
      makes a payment under the program, Also, the Department must minimize the amount of funds
      transferred to a State to only that needed to meet the immediate cash needs of the State. The
      timing and amount of funds transferred must be as close as is administratively feasible to a
      State's actual cash outlay for direct program costs and the proportionate share of any allowable
      indirect costs.
Q     What if there is no TSA?



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A    When a State does not have a TSA in effect, default procedures in 31 CFR, part 205 that the
     Treasury Department determines appropriate apply. The default procedures will prescribe
     efficient funds transfer procedures consistent with State and Federal law and identify the
     covered Federal assistance programs and designated funding techniques.



Q    Who is responsible for Cash Management?
A    Grantees and subgrantees that receive grant funds under programs of the Department are
     responsible for maintaining internal controls regarding the management of Federal program
     funds under the Uniform Guidance in 2 CFR 200.302 and 200.303. In addition, grantees are
     responsible for ensuring that subgrantees are aware of the cash management and requirements
     in 2 CFR part 200, subpart D.

Q    Who is responsible for monitoring cash drawdowns to ensure compliance with cash
     management policies?
A    Recipients must monitor their own cash drawdowns and those of their subrecipients to assure
     substantial compliance to the standards of timing and amount of advances.

Q    How soon may I draw down funds from the GS grants management system?
A    Grantees are required to minimize the amount of time between the drawdown and the
     expenditure of funds from their bank accounts. (See 2 CFR 200.30S(b).) Funds must be drawn
     only to meet a grantee's immediate cash needs for each individual grant. The GS screen displays
     the following message:

     By submitting this payment request, I certify to the best of my knowledge and belief that the
     request is based on true, complete, and accurate information. I further certify that the
     expenditures and disbursements made with these funds are for the purposes and objectives
     set forth in the applicable Federal award or program participation agreement, and that the
     organization on behalf of which this submission is being made is and will remain in compliance
     with the terms and conditions of that award or program participation agreement. I am aware
     that the provision of any false, fictitious, or fraudulent information, or the omission of any
     material fact, may subject me, and the organization on behalf of which this submission is being
     made, to criminal, civil, or administrative penalties for fraud, false statements, false claims, or
     other violations. (U.S. Code Title 18, Section 1001; Title 20, Section 1097; and Title 31, Sections
     3729-3730 and 3801-3812)

Q    How may I use Federal funds?
A    Federal funds must be used as specified in the Grant Award Notification (GAN) and the approved
     application or State plan for allowable direct costs of the grant and an allocable portion of
     indirect costs, if authorized.

Q    What are the consequences to recipients/subrecipients for not complying with terms of the
     grant award?
A    If a recipient or subrecipient materially fails to comply with any term of an award, whether
     stated in a Federal statute or regulation, including those in 2 CFR part 200, an assurance, the
     GAN, or elsewhere, the awarding agency may in accordance with 2 CFR 200.339 take one or
     more of the following actions:




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             1.   Temporarily withhold cash payments pending correction of the deficiency by the
                  non-Federal entity or more severe enforcement action by the Federal awarding
                  agency or pass-through entity.
             2.   Disallow (that is, deny both use of funds and any applicable matching credit for) all
                  or part of the cost of the activity not in compliance.
             3.   Wholly or partly suspend or terminate the Federal award.
             4.   Initiate suspension or debarment proceedings as authorized under 2 CFR part 180
                  and Federal award agency regulations (or in the case of a pass-through be initiated
                  by a Federal awarding agency).
             s.   Withhold further Federal awards for the project or program.
             6.   Take other remedies that may be legally available.




Q    Who is responsible for determining the amount of interest owed to the Federal government?
A    As set forth in 31 CFR 205.9, the method used to calculate and document interest liabilities is
     included in the State's TSA. A non-State entity must maintain advances of Federal funds in
     interest-bearing accounts unless certain limited circumstance apply and remit interest earned on
     those funds to the Department of Health and Human Services, Payment Management System
     annually. See 2 CFR 200.305.
Q    What information should accompany my interest payment?
A    In accordance with 2 CFR 200.305(b)(9), interest in access of $500.00 earned on Federal advance
     payments deposited in interest-bearing accounts must be remitted annually to the Department
     of Health and Human Services Payment Management System (PMS) through an electronic
     medium using either Automated Clearing House (ACH) network or a Fedwire Funds Service
     payment.

     For returning interest on Federal awards paid through PMS, the refund should:
     (a) Provide an explanation stating that the refund is for interest;
     (b) List the PMS Payee Account Number(s) (PANs);
     (c) List the Federal award number(s) for which the interest was earned; and
     (d) Make returns payable to: Department of Health and Human Services.

     For returning interest on Federal awards not paid through PMS, the refund should:
     (a) Provide an explanation stating that the refund is for interest;
     (b) Include the name of the awarding agency;
     (c) List the Federal award number(s) for which the interest was earned; and
     (d) Make returns payable to: Department of Health and Human Services.

     For additional information about returning interest see GAN ATTACHMENT 4.

Q    Are grant recipients/subrecipients automatically permitted to draw funds in advance of the
     time they need to disburse funds in order to liquidate obligations?
A     The payment requirements in 2 CFR 200.305{b) authorize a grantee or subgrantee to request
     funds in advance of expenditures if certain conditions are met. However, if those conditions are
     not met, the Department and a pass-through agency may place a payee on reimbursement.




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Q    For formula grant programs such as ESEA Title I, for which States distribute funds to LEAs, may
     States choose to pay LEAs on a reimbursement basis?
A    A subgrantee must be paid in advance if it meets the standards for advance payments in 2 CFR
     200.305{b){1) but if the subgrantee cannot meet those standards, the State may put the
     subgrantee on reimbursement payment. See 2 CFR 200.305{b).

Q    Will the Department issue special procedures in advance if GS plans to shut down for 3 days or
     more?
A    Yes, before any shutdown of GS lasting three days or more, the Department issues special
     guidance for drawing down funds during the shut down. The guidance will include cash
     management improvement act procedures for States and certain State institutions of higher
     education and procedures for grants (including Pell grants) that are not subject to CMIA.




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